                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                               AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                       Case No.

 APPROXIMATELY $106,000 IN UNITED
 STATES CURRENCY FROM BANK OF
 AMERICA ACCOUNT ENDING IN 5359,

                        Defendant.


              VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Scott J. Campbell, Assistant United States

Attorney for this district, alleges the following in accordance with Supplemental Rule G(2) of the

Federal Rules of Civil Procedure:

                                      Nature of the Action

       1.      This is a civil action to forfeit property to the United States of America, under

Title 18, United States Code, Sections 981(a)(1)(C) and 984, including cross-references to

Title 18, United States Code, Sections 1956(c)(7) and 1961(1), for violations of Title 18, United

States Code, Section 1343.

                                     The Defendant In Rem

       2.      The defendant approximately $106,000 in United States currency was seized on

or about December 3, 2019, when the United States Secret Service received a cashier’s check in




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that amount from Bank of America, following the Secret Service’s execution of seizure warrant

#19-951M, on the bank, on November 13, 2019.

        3.      United States Magistrate Judge Nancy Joseph of the Eastern District of Wisconsin

had issued that warrant on November 8, 2019. The warrant authorized the seizure of up to

$106,000 from Bank of America account ending in 5359, held in the name of a business having

the initials S.G. LLC.

        4.      The defendant property was seized in Milwaukee, Wisconsin, and is presently in

the custody of the United States Secret Service in Washington D.C.

                                       Jurisdiction and Venue

        5.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

        6.      This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

§ 1355(b).

        7.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1) because the acts or

omissions giving rise to the forfeiture occurred, in part, in this district.

                                         Basis for Forfeiture

        8.      The defendant property is subject to forfeiture under Title 18, United States Code,

Sections 981(a)(1)(C) and 984, because it constitutes or was derived from proceeds traceable to

an offense constituting “specified unlawful activity” – as defined in Title 18, United States Code,

Section 1956(c)(7), with reference to Title 18, United States Code, Section 1961(1) – namely,

wire fraud, committed in violation of Title 18, United States Code, Section 1343.




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                                               Facts

Background

       9.      One common financial fraud scheme is known as a Business Email Compromise

(“BEC”) fraud scheme. In a BEC scheme, a fraudster gains unauthorized access to, or spoofs,

the email address belonging to a customer or vendor of a business. The fraudster then sends an

electronic communication—on the false pretense that the fraudster is the business’s legitimate

vendor or customer—instructing the business or one or more of its vendors, customers, or

financial institutions to wire money to a bank account controlled by the fraudster or to a financial

institution or vendor with which the fraudster does business.

Opening of Bank of America account ending in 5359

       10.     Bank of America account ending in 5359 (“BOA 5359”) was opened in the name

of a business having the initials S.G. LLC and an individual having the initials P.S.

June 26, 2019 wire transfer of $106,000 into BOA 5359 from a victim business having the
initials GEH

       11.     During May and June 2019, an individual now known to be J.C. perpetrated a

BEC fraud scheme on a victim business, which has the initials GEH and is located in the Eastern

District of Wisconsin.

       12.     The fraudster caused GEH to wire $106,000 into BOA 5359, as set forth below.

       13.     The fraudster impersonated an individual having the initials T.H.—an account

manager of a legitimate business having the initials A.M., which is a vendor of medical

equipment—by using a spoofed email address: txx.hxxxxxxx@axxxx-mxxxxxx.com.

       14.     The fraudster also impersonated Dr. F.D.—an actual medical service provider—

and claimed to be seeking financing to purchase medical equipment through A.M.




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       15.     The fraudster impersonating Dr. F.D. completed a bogus financing application to

purchase medical equipment from A.M. in the amount of $106,000. The fraudster then

submitted the fake A.M. invoice to GEH in order to obtain financing from GEH on false and

fraudulent pretenses. The invoice listed T.H. as A.M.’s account manager.

       16.     The fraudster then sent emails using the spoofed email address

txx.hxxxxxxx@axxxx-mxxxxxx.com to an individual having the initials A.D., who works in

Transaction Support for GEH. The fraudster falsely and fraudulently provided ACH/Wire

Payment instructions and requested that payment to A.M. for the medical equipment be wire

transferred to BOA 5359.

       17.     On June 26, 2019, at the direction of the fraudster, GEH, from the Eastern District

of Wisconsin, caused a wire transfer of $106,000 to be made from its Deutsche Bank account

into BOA 5359.

       18.     In July 2019, Office Manager C.O., who works for the actual Dr. F.D., received a

copy of the GEH invoice. C.O. contacted GEH and stated that their office never requested the

financing or medical equipment.

       19.     GEH then contacted the actual T.H., account manager for A.M., the vendor of

medical equipment. T.H. stated that his name and company had been used in similar fraud

schemes.

       20.     Thus, as set forth above, GEH was the victim of a business email compromise

fraud scam.

       21.     In addition, the $106,000 that GEH wire transferred into BOA 5359 on June 26,

2019, constituted proceeds of that fraud scam.




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        22.     The defendant property consists of, or is traceable to, GEH’s June 26, 2019 wire

transfer of $106,000 into BOA 5359.

        23.     BOA 5359 is an account held by a third-party gold broker from which J.C. bought

gold.

                                   Warrant for Arrest In Rem

        24.     Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the defendant property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                          Claim for Relief

        25.     The plaintiff repeats and incorporates by reference the paragraphs above.

        26.     By the foregoing and other acts, the defendant property constitutes or was derived

from proceeds traceable to specified unlawful activity, namely, wire fraud, committed in

violation of Title 18, United States Code, Section 1343, and is therefore subject to forfeiture to

the United States of America under Title 18, United States Code, Sections 981(a)(1)(C) and 984,

with cross-references to Title 18, United States Code, Sections 1956(c)(7) and 1961(1).

        WHEREFORE, the United States of America prays that a warrant of arrest for the

defendant property, approximately $106,000 in United States currency from Bank of America

account ending in 5359, be issued; that due notice be given to all interested parties to appear and

show cause why the forfeiture should not be decreed; that judgment declare the defendant

property to be condemned and forfeited to the United States of America for disposition according

to law; and that the United States of America be granted such other and further relief as this

Court may deem just and equitable, together with the costs and disbursements of this action.




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Dated at Milwaukee, Wisconsin, this 10th day of August, 2020.

                                    Respectfully submitted,

                                    MATTHEW D. KRUEGER
                                    United States Attorney

                             By:
                                     s/SCOTT J. CAMPBELL
                                    SCOTT J. CAMPBELL
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                                           Verification

       I, Zachary Hoalcraft, hereby verify and declare under penalty of perjury that I am a

Special Agent with the United States Secret Service in Milwaukee, Wisconsin, that I have read

the foregoing Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and

that the factual matters contained in paragraphs 9 through 23 of the Verified Complaint are true

to my own knowledge.

       The sources of my knowledge are the official files and records of the United States,

information supplied to me by other law enforcement officers, as well as my investigation of this

case, together with others, as a Special Agent of the United States Secret Service.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: 08/10/2020                               s/ZACHARY HOALCRAFT
                                              Zachary Hoalcraft
                                              Special Agent
                                              United States Secret Service




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